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         EXHIBIT B
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                 MEDICARE DRUG PRICE NEGOTIATION PROGRAM AGREEMENT
                           (hereinafter referred to as the “Agreement”)

                                                Between

the Centers for Medicare & Medicaid Services (CMS), pursuant to delegated authority of the Secretary of
                                    Health and Human Services

                                                  And

                                     [Full Name of Manufacturer]
                             (hereinafter referred to as the “Manufacturer”)

                                                   For

                                        [Name of Selected Drug]
                             (hereinafter referred to as the “Selected Drug”)

WHEREAS, pursuant to sections 1191 through 1198 of the Social Security Act (“the Act”), as set forth in
the Inflation Reduction Act (IRA), Pub. L. 117-169, CMS is responsible for the administration of the
Medicare Drug Price Negotiation Program (hereinafter referred to as the “Negotiation Program”), which
sets forth a framework under which manufacturers and CMS may negotiate to determine a price (referred
to as “maximum fair price” in the Act) for selected drugs in order for manufacturers to provide access to
such price to maximum fair price eligible individuals; and

WHEREAS, CMS has designated the Manufacturer as the Primary Manufacturer, as defined in applicable
guidance or regulations adopted in accordance with section 1193 of the Act, of the Selected Drug, and
CMS has included the Selected Drug on the list of selected drugs published on [Date]; and

WHEREAS, the Manufacturer, if it reaches agreement with CMS, intends to provide access to the
determined price pursuant to section 1193 of the Act and in accordance with how the price is computed
and applied across different strengths and dosage forms of the Selected Drug as identified by CMS and
updated, as applicable, in accordance with sections 1194(f), 1195(b), and 1196(a)(2) of the Act and
applicable guidance and regulations, including where the Selected Drug is sold or marketed by any
Secondary Manufacturers as defined in applicable guidance or regulations;

NOW THEREFORE, CMS, on behalf of the Department of Health and Human Services, and the
Manufacturer, on its own behalf, in accordance with sections 1191 through 1198 of the Act, and all
applicable guidance and regulations, hereby agree to the following:

I. Definitions

All terms included in this Agreement shall have the meaning given to them under the provisions of
sections 1191 through 1198 of the Act and any applicable guidance and regulations implementing those
provisions, except where such terms are expressly defined in this Agreement.

II. CMS and Manufacturer Responsibilities

CMS shall administer the Negotiation Program and the Manufacturer agrees to comply with all applicable
requirements and conditions for the Negotiation Program set forth in sections 1191 through 1198 of the



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Act and all applicable guidance and regulations implementing those provisions and any changes to the
Act that affect the Negotiation Program.

Without limiting the foregoing, CMS and the Manufacturer agree:
   a) During the negotiation period for the initial price applicability year for the Selected Drug, in
       accordance with section 1194 of the Act and applicable guidance and regulations CMS and the
       Manufacturer shall negotiate to determine (and, by not later than the last date of such period,
       agree to) a maximum fair price for the Selected Drug of the Manufacturer in order for the
       Manufacturer to provide access to such price—
           i.   to maximum fair price eligible individuals who with respect to the Selected Drug are
                described in subparagraph (A) of section 1191(c)(2) of the Act and are dispensed the
                Selected Drug (and to pharmacies, mail order services, and other dispensers, with respect
                to such maximum fair price eligible individuals who are dispensed the Selected Drug)
                during, subject to paragraph (b) of this section, the price applicability period; and
          ii.   to hospitals, physicians, and other providers of services and suppliers with respect to
                maximum fair price eligible individuals who with respect to the Selected Drug are
                described in subparagraph (B) of section 1191(c)(2) of the Act and are furnished or
                administered the Selected Drug during, subject to paragraph (b) of this section, the price
                applicability period.
   b) As applicable, CMS and the Manufacturer shall, in accordance with section 1194 of the Act and
       applicable guidance and regulations, renegotiate (and, by not later than the last date of the period
       of renegotiation, agree to) the maximum fair price for the Selected Drug, in order for the
       Manufacturer to provide access to such maximum fair price (as so renegotiated)—
           i.   to maximum fair price eligible individuals who with respect to the Selected Drug are
                described in subparagraph (A) of section 1191(c)(2) of the Act and are dispensed the
                Selected Drug (and to pharmacies, mail order services, and other dispensers, with respect
                to such maximum fair price eligible individuals who are dispensed the Selected Drug)
                during any year during the price applicability period (beginning after such renegotiation)
                with respect to such Selected Drug; and
          ii.   to hospitals, physicians, and other providers of services and suppliers with respect to
                maximum fair price eligible individuals who with respect to the Selected Drug are
                described in subparagraph (B) of section 1191(c)(2) of the Act and are furnished or
                administered the Selected Drug during any year during the price applicability period
                (beginning after such renegotiation) with respect to such Selected Drug.
   c) Subject to paragraph (f) of this section and in accordance with applicable guidance and
       regulations, access to the maximum fair price (including as renegotiated pursuant to paragraph (b)
       of this section), with respect to such a Selected Drug, shall be provided by the Manufacturer to—
           i.   maximum fair price eligible individuals, who with respect to the Selected Drug are
                described in subparagraph (A) of section 1191(c)(2) of the Act, at the pharmacy, mail
                order service, or other dispenser at the point-of-sale of the Selected Drug (and shall be
                provided by the Manufacturer to the pharmacy, mail order service, or other dispenser,
                with respect to such maximum fair price eligible individuals who are dispensed the
                Selected Drug), as described in paragraph (a)(i) or (b)(i) of this section, as applicable; and
          ii.   hospitals, physicians, and other providers of services and suppliers with respect to
                maximum fair price eligible individuals who with respect to the Selected Drug are
                described in subparagraph (B) of section 1191(c)(2) of the Act and are furnished or
                administered the Selected Drug, as described in paragraph (a)(ii) or (b)(ii) of this section,
                as applicable.
   d) The Manufacturer shall submit to CMS, in a form and manner specified by CMS and in
       accordance with applicable guidance and regulations, for the negotiation period for the price



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      applicability period (and, if applicable, before any period of renegotiation pursuant to section
      1194(f) of the Act), and for section 1192(f) of the Act, with respect to the Selected Drug—
          i.   information on the non-Federal average manufacturer price (as defined in section
               8126(h)(5) of title 38, United States Code) for the Selected Drug for the applicable year
               or period;
         ii.   information that CMS requires to carry out the negotiation (or renegotiation) process
               under sections 1191 through 1198 of the Act; and
        iii.   information that CMS requires to carry out section 1192(f) of the Act, including rebates
               under section 1192(f)(4) of the Act.
   e) The Manufacturer shall comply with requirements determined by CMS to be necessary for
      purposes of administering the Negotiation Program and monitoring compliance with the
      Negotiation Program, including in accordance with applicable guidance and regulations.
   f) Under this Agreement and in accordance with applicable guidance and regulations, the
      Manufacturer—
          i.   Shall not be required to provide access to the maximum fair price under paragraph (c),
               with respect to the Selected Drug and maximum fair price eligible individuals who are
               eligible to be furnished, administered, or dispensed the Selected Drug at a covered entity
               described in section 340B(a)(4) of the Public Health Service Act, to such covered entity
               if the Selected Drug is subject to an agreement described in section 340B(a)(1) of such
               Act and the ceiling price (defined in section 340B(a)(1) of such Act) is lower than the
               maximum fair price for such selected drug; and
         ii.   Shall be required to provide access to the maximum fair price to such covered entity with
               respect to maximum fair price eligible individuals who are eligible to be furnished,
               administered, or dispensed the Selected Drug at such entity at such ceiling price in a
               nonduplicated amount to the ceiling price if such maximum fair price is below the ceiling
               price for the Selected Drug.
   g) In accordance with section 1193(c) of the Act and applicable guidance and regulations,
      information submitted to CMS under the Negotiation Program by the Manufacturer that is
      proprietary information of such Manufacturer, as determined by CMS, shall be used only by CMS
      or disclosed to and used by the Comptroller General of the United States to carry out such
      Negotiation Program, unless otherwise required by law.

III. Effective Date, Term and Termination

   a) This Agreement shall have an effective date of the date this Agreement is signed by both parties.
   b) The term of this Agreement shall be from the effective date until the termination date, which shall
      be the earlier of the first day that the Selected Drug is no longer a selected drug pursuant to CMS’
      determination in accordance with section 1192(c) of the Act and applicable guidance and
      regulations, or the date that the Agreement is terminated by either party in accordance with
      applicable guidance and regulations.
   c) Notwithstanding the termination of this Agreement, certain requirements and obligations shall
      continue to apply in accordance with applicable guidance and regulations.
IV. General Provisions

   a) This Agreement contains the entire agreement of the parties with respect to the subject matter of
      this Agreement and supersedes all prior oral and written representations, agreements, and
      understandings of the parties. If CMS and the Manufacturer reach agreement on a price for the
      Selected Drug pursuant to section II(a) or II(b) of this Agreement, CMS and the Manufacturer
      shall execute an addendum setting forth the price for the Selected Drug that will apply for
      purposes of this Agreement.


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b) CMS retains authority to amend this Agreement to reflect changes in law, regulation, or guidance.
   When possible, CMS shall give the Manufacturer at least 60-day notice of any change to the
   Agreement.
c) Any notice required to be given by either party pursuant to the terms and provisions of this
   Agreement shall be sent by email. CMS shall provide the appropriate email address for notice in
   guidance, rulemaking, or other publications. The Manufacturer shall provide the appropriate
   email address(es) for notice to CMS in a form and manner specified by CMS.
d) Nothing in this Agreement shall prohibit the Manufacturer from transferring the Selected Drug
   and obligations of this Agreement to another entity in accordance with applicable guidance and
   regulations.
e) Nothing in this Agreement shall limit the Manufacturer from providing access under the
   Medicare program to a price lower than the price determined pursuant to this Agreement.
f) In signing this Agreement, the Manufacturer does not make any statement regarding or
   endorsement of CMS’ views, and makes no representation or promise beyond its intention to
   comply with its obligations under the terms of this Agreement with respect to the Selected Drug.
   Use of the term “maximum fair price” and other statutory terms throughout this Agreement
   reflects the parties’ intention that such terms be given the meaning specified in the statute and
   does not reflect any party’s views regarding the colloquial meaning of those terms.
g) Nothing in this Agreement shall be construed to require or authorize the commission of any act
   contrary to law. If any provision of this Agreement is found to be invalid by a court of law with
   competent jurisdiction, this Agreement will be construed in all respects as if any invalid or
   unenforceable provisions were eliminated, and without any effect on any other provision.
h) No failure by any party to insist upon the strict performance of any requirement, obligation or
   condition of this Agreement shall constitute a waiver of any such requirement, obligation or
   condition.
i) This Agreement shall be construed in accordance with Federal law and any ambiguities shall be
   interpreted in the manner that best effectuates the statute. Any litigation relating to this
   Agreement, to the extent that jurisdiction and a cause of action would otherwise be available for
   such litigation, shall be resolved in Federal court. Actions by the Manufacturer for damages are
   not permitted pursuant to this Agreement, and the Manufacturer’s remedies for any breach are
   limited to termination of the Agreement or other action consistent with applicable statutes,
   regulations, or guidance.
j) CMS and the Manufacturer acknowledge and agree that in accordance with section 1197 of the
   Act and 26 U.S.C. § 5000D, the Manufacturer may be subject to civil monetary penalties and an
   excise tax, as applicable, for failure to meet the requirements of the Negotiation Program,
   including violations of this Agreement.
k) Neither party shall be liable for failure to perform its obligations under this Agreement if such
   failure is occasioned by a contingency beyond such party’s reasonable control, including, but not
   limited to, lockouts, riots, wars, fires, floods or storms (a “Force Majeure Event”). A party
   claiming a right to excused performance under this section shall promptly notify the other party in
   writing of the extent of its inability to perform, which notice shall specify the Force Majeure
   Event that prevents such performance and include a timeline for remediation. The party failing to
   perform shall use reasonable efforts to avoid or remove the cause of the Force Majeure Event and
   shall resume performance under the Agreement promptly upon the cessation of the Force Majeure
   Event.




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V. Signatures

       FOR THE MANUFACTURER

       A. By signing this Agreement, the Manufacturer agrees to abide by all provisions set forth in this
       Agreement and acknowledges having received notice of potential penalties for violation of the
       terms of the Agreement.

       B. The undersigned individual hereby attests that he or she is authorized by the Manufacturer to
       execute this Agreement with regard to the Selected Drug and to legally bind the Manufacturer on
       whose behalf he or she is executing the Agreement to all terms and conditions specified herein.
       The undersigned individual further attests that he or she has obtained access in the CMS Health
       Plan Management System (CMS HPMS) as an authorized representative to be signatory for the
       Manufacturer and that the individual’s CMS HPMS access credentials contain the same
       information regarding the undersigned individual as the information set forth below.

       By:


       Print Name: ____________________________________________________________________


       Signature: _____________________________________________________________________


       Title: _________________________________________________________________________


       Date: _________________________________________________________________________


       P-Number: _____________________________________________________________________


       Manufacturer Address: ___________________________________________________________


       _____________________________________________________________________________


       FOR THE CENTERS FOR MEDICARE & MEDICAID SERVICES

       By:


       Print Name: __________________________________________________________________




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Signature: _____________________________________________________________________



Title: _________________________________________________________________________



Date: _________________________________________________________________________




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Addendum 1: Negotiated Maximum Fair Price


               MEDICARE DRUG PRICE NEGOTIATION PROGRAM AGREEMENT
                    NEGOTIATED MAXIMUM FAIR PRICE ADDENDUM
                         (hereinafter referred to as the “Addendum”)


                                                 Between

the Centers for Medicare & Medicaid Services (CMS), pursuant to delegated authority of the Secretary of
                                    Health and Human Services

                                                   And

                                      [Full Name of Manufacturer]
                              (hereinafter referred to as the “Manufacturer”)

                                                    For

                                        [Name of Selected Drug]
                             (hereinafter referred to as the “Selected Drug”)

WHEREAS, the Manufacturer has in effect a Medicare Drug Price Negotiation Agreement (the
“Agreement”), which the Manufacturer entered into with CMS on [Date], to negotiate to determine a
price (referred to as “maximum fair price” in the Social Security Act (“the Act”)) for the Selected Drug
under the Negotiation Program; and

WHEREAS, the Manufacturer and CMS have engaged in negotiation of the price for the Selected Drug in
accordance with the negotiation process set forth in section 1194 of the Act and applicable guidance and
regulations; and

WHEREAS, the Manufacturer and CMS now agree to a price for the Selected Drug, as published by
CMS in accordance with section 1195(a) of the Act and updated in accordance with sections 1195(b) and
1196(a)(2) of the Act and applicable guidance and regulations, which will apply for purposes of the
Agreement;

NOW THEREFORE, the Manufacturer and CMS agree to this Addendum, such that the following terms
are hereby incorporated as part of the Agreement:

            a) The parties agree to a price of [$ ] for the Selected Drug per 30-day equivalent supply,
               weighted across dosage forms and strengths.

            b) The parties agree that the price set forth in clause (a) shall apply to the dosage forms and
               strengths of the Selected Drug as identified on the list of National Drug Codes (NDCs)
               maintained by CMS as may be updated with information from the manufacturer in
               accordance with section 1193 of the Act and applicable guidance and regulations.

            c) The parties agree that the price set forth in clause (a), which in accordance with section
               1196(a)(2) of the Act and applicable guidance and regulations is computed and applied
               by CMS across the different strengths and dosage forms of the Selected Drug as set forth


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               in clause (b), is binding and shall apply as specified in the Agreement and in accordance
               with the Act and any applicable guidance and regulations.

Signatures

FOR THE MANUFACTURER

       A. By signing below, the Manufacturer agrees to this Addendum to the Agreement and
       acknowledges having received notice of potential penalties for violation of the terms of the
       Addendum and the Agreement.

       B. The undersigned individual hereby attests that he or she is authorized by the Manufacturer to
       execute this Agreement with regard to the Selected Drug and to legally bind the Manufacturer on
       whose behalf he or she is executing the Agreement to all terms and conditions specified herein.
       The undersigned individual further attests that he or she has obtained access in the CMS Health
       Plan Management System (CMS HPMS) as an authorized representative to be signatory for the
       Manufacturer and that the individual’s CMS HPMS access credentials contain the same
       information regarding the undersigned individual as the information set forth below.

       By:


       Print Name: __________________________________________________________________



       Signature: ____________________________________________________________________



       Title: _______________________________________ ________________________________



       Date: ________________________________________________________________________



       P-Number: _____________________________________________________________________




       Manufacturer Address: ___________________________________________________________


       ______________________________________________________________________________




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FOR THE CENTERS FOR MEDICARE & MEDICAID SERVICES

     By:


     Name: ________________________________________________________________________



     Signature: _____________________________________________________________________



     Title: _________________________________________________________________________



     Date: _________________________________________________________________________




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Addendum 2: Renegotiated Maximum Fair Price

               MEDICARE DRUG PRICE NEGOTIATION PROGRAM AGREEMENT
                   RENEGOTIATED MAXIMUM FAIR PRICE ADDENDUM
                         (hereinafter referred to as the “Addendum”)

                                                 Between

the Centers for Medicare & Medicaid Services (CMS), pursuant to delegated authority of the Secretary of
                                    Health and Human Services

                                                   And

                                      [Full Name of Manufacturer]
                              (hereinafter referred to as the “Manufacturer”)

                                                   For

                                        [Name of Selected Drug]
                             (hereinafter referred to as the “Selected Drug”)

WHEREAS, the Manufacturer has in effect a Medicare Drug Price Negotiation Agreement (the
“Agreement”), which the Manufacturer entered into with CMS on [ Date ], to negotiate to determine a
price (referred to as “maximum fair price” in the Social Security Act (“the Act”)) for the Selected Drug
under the Negotiation Program and agreed to such a price on [Date(s)]; and

WHEREAS, the Manufacturer and CMS have engaged in renegotiation of the price for the Selected Drug
in accordance with the renegotiation process set forth in section 1194 of the Act and applicable guidance
and regulations; and

WHEREAS, the Manufacturer and CMS now agree to a renegotiated price for the Selected Drug, as
published by CMS in accordance with section 1194(f)(4) of the Act and updated in accordance with
sections 1194(f)(4) and 1196(a)(2) of the Act and applicable guidance and regulations, which will apply
for purposes of the Agreement; and

NOW THEREFORE, the Manufacturer and CMS agree to this Addendum, such that the following terms
are hereby incorporated as part of the Agreement:

            a) The parties agree to a price of [$ ] for the Selected Drug per 30-day equivalent supply,
               weighted across dosage forms and strengths.
            b) The parties agree that the price set forth in clause (a) shall apply to the dosage forms and
               strengths of the Selected Drug as identified on the list of National Drug Codes (NDCs)
               maintained by CMS as may be updated with information from the manufacturer in
               accordance with section 1193 of the Act and applicable guidance and regulations.
            c) The parties agree that the price set forth in clause (a), which in accordance with section
               1196(a)(2) of the Act and applicable guidance and regulations is computed and applied
               by CMS across the different strengths and dosage forms of the Selected Drug as set forth
               in clause (b), is binding and shall apply as specified in the Agreement and in accordance
               with the Act and any applicable guidance and regulations.




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Signatures

FOR THE MANUFACTURER

       A. By signing this, the Manufacturer agrees to this Addendum to the Agreement and
       acknowledges having received notice of potential penalties for violation of the terms of the
       Addendum and the Agreement.

       B. The undersigned individual hereby attests that he or she is authorized by the Manufacturer to
       execute this Agreement with regard to the Selected Drug and to legally bind the Manufacturer on
       whose behalf he or she is executing the Agreement to all terms and conditions specified herein.
       The undersigned individual further attests that he or she has obtained access in the CMS Health
       Plan Management System (CMS HPMS) as an authorized representative to be signatory for the
       Manufacturer and that the individual’s CMS HPMS access credentials contain the same
       information regarding the undersigned individual as the information set forth below.


       By:


       Print Name: __________________________________________________________________



       Signature: ____________________________________________________________________



       Title: _______________________________________ ________________________________



       Date: ________________________________________________________________________



       P-Number: _____________________________________________________________________




       Manufacturer Address: ___________________________________________________________


       ______________________________________________________________________________




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FOR THE CENTERS FOR MEDICARE & MEDICAID SERVICES

     By:


     Name: ________________________________________________________________________



     Signature: _____________________________________________________________________



     Title: _________________________________________________________________________



     Date: _________________________________________________________________________




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